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                              UNITED STATES DISTRICT COURT
                                                      for the
                                         DISTRICT OF MASSACHUSETTS



                    PERICLES CLERGEAU
                                      Plaintiff

                                         v.
                                                                      Civil Action No.: 1:21−CV−10136−LTS


      DEPARTMENT OF CORRECTION, ET AL.
                                     Defendant




                                         SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address)
         Steven Silva
         DOC Legal Division
         Attn: Margaret Melville
         70 Franklin Street, Suite 600
         Boston, MA 02110
     A lawsuit has been filed against you.

    Within 21 days after service of this summons on you (not counting the day you received it) −−− or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a)(2) or (3) −−− you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiff's attorney, whose name and address are:




     If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.




 ROBERT M. FARRELL
CLERK OF COURT

  /s/ − Arnold Pacho
Signature of Clerk or Deputy Clerk


ISSUED ON 2021−07−06 10:03:32, Clerk USDC DMA
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           Civil Action No.: 1:21−CV−10136−LTS
                                                      PROOF OF SERVICE

                  (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

               This summons for (name of individual and title, if any) ________________________________

           was received by me on (date)___________________.


           I personally served the summons on the individual at (place)______________________________

           ____________________________________on (date)_________________________ ; or


           I left the summons at the individual's residence or usual place of abode with (name)_____________

           ______________________________, a person of suitable age and discretion who resides there,

           on (date) _________________ , and mailed a copy to the individual's last known address; or

           I served the summons on (name of individual)________________________________ , who is

           designated by law to accept service of process on behalf of (name of organization)_____________

           _____________________________________________ on (date) _______________; or

           I returned the summons unexecuted because_______________________________________ ; or


           Other (specify) :



           My fees are $ ________ for travel and $_________ for services, for a total of $______________.


           I declare under penalty of perjury that this information is true.




               ___________________                          _______________________________________
                          Date                                                  Server's Signature

                                                            _______________________________________
                                                                               Printed name and title



                                                            _______________________________________
                                                                                 Server's Address

Additional information regarding attempted service, etc:
